            Case 2:05-cr-00381-TSZ            Document 45    Filed 01/13/06     Page 1 of 1



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 5                            UNITED STATES DISTRICT COURT
                        for the WESTERN DISTRICT of WASHINGTON
 6

 7    UNITED STATES of AMERICA,                       )
                                                      )
 8                               Plaintiff,           )
 9                         vs.                        )
                                                      )              CR05-381 TSZ
10
      JOSHUA KEBEDE,                                  )
11                                                    )
                                 Defendant.           )       MINUTE ORDER
12                                                    ) CONTINUING EVIDENTIARY
                                                      )        HEARING
13
            The following Minute Order is made at the direction of the Court, the Honorable
14
     Mary Alice Theiler, United States Magistrate Judge:
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16
            Counsel have requested the Evidentiary Hearing on Bond Revocation be stricken from the
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     calendar on January 18, 2006, and be continued. The request is GRANTED. The evidentiary
18
     hearing is hereby continued to Monday, February 13, 2006 at 9:30am. The hearing will be held
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     in Courtroom 12A, U.S. Courthouse, Seattle, Washington.
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23                                Dated this 13th day of January , 2006
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25                                /S/ PETER H. VOELKER
                                   Deputy Clerk
26   MINUTE ORDER
